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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                         Case No. 0:17-cv-61053

    MediBio USA, LLC

            Plaintiff,

    vs.

    Facet Technologies LLC,
    Kevin Seifert, David Conn,
    Alan Panzer, Donald Jackson,
    Tae Chang Industrial Co. Ltd.,
    and Kovac-Med Co. Ltd.

            Defendants.

    _________________________________/

                                             COMPLAINT

            Plaintiff MediBio USA, LLC (“Plaintiff” or “MediBio”) sues Kevin Seifert,

    David Conn, Alan Panzer, Donald Jackson, Facet Technologies LLC, Tae Chang

    Industrial Co. Ltd., and Kovac-Med Co. Ltd. (collectively, “Defendants”), and alleges as

    follows:


                                               PARTIES

            1.      MediBio is a Florida corporation with its headquarters in Florida.

            2.      Facet Technologies LLC (“Facet”) is a Delaware limited liability company

    headquartered in Atlanta, Georgia.

            3.      Kevin Seifert is the Chairman of Facet. Upon information and belief,

    Seifert is a resident of Concord, Massachusetts.

            4.      David Conn was the President and CEO of Facet until January 2015. Upon

    information and belief, Conn is a resident of Atlanta, Georgia.
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            5.      Alan Panzer was the President and CEO of Facet from January 2015 until

    2017. Upon information and belief, Panzer is a resident of Connecticut.

            6.      Donald Jackson is the CFO of Facet. Upon information and belief,

    Jackson is a resident of Atlanta, Georgia.

            7.      Tae Chang Industrial Co. Ltd. (“Tae Chang”) is a South Korean company

    with its headquarters in Chung-Nam, South Korea.

            8.      Kovac-Med Co. Ltd. (“Kovac-Med”) is a South Korean Company with its

    headquarters in Yeoksamdong Kangnamku, South Korea.


                                   JURISDICTION AND VENUE

            9.      This Court has subject matter jurisdiction over this action under 28 U.S.C.

    § 1332, as this Court has diversity jurisdiction over the parties because the parties are

    domiciled in and reside in different states (or countries) and the amount in controversy

    exceeds $75,000, exclusive of attorneys’ fees, interest, and costs.

            10.     Defendants are also subject to personal jurisdiction within this District

    because (1) Defendants have negotiated and entered into agreements in this District, (2)

    pursuant to Florida Statutes §§ 48.193(1)(a), (f), (g) and 48.193(2), and (3) because an

    agreement that is the subject matter of this action contains a consent to the personal

    jurisdiction of this judicial district.

            11.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391(c) because the

    agreements that are the subject matter of this action were negotiated and/or entered into

    in this District, and a substantial part of the events or omissions giving rise to the claim

    occurred in this District. Plaintiff is domiciled in the State of Florida.




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                                   FACTUAL ALLEGATIONS

                       The Agreement Between MediBio and Tae Chang

           12.     In November 2012, MediBio and Tae Chang entered into an “Exclusive

    Distribution Agreement”, attached hereto as Exhibit A.

           13.     Under the Exclusive Distribution Agreement, Tae Chang appointed

    MediBio as “its Exclusive distributor for the distribution, promotion and selling of the

    Products in the Territory.”

           14.     The “Products” are defined to include as Tae Chang Insulin Pen needles,

    Insulin Pen injectors, Insulin syringes, spinal anesthesia needles and Hypodermic

    Needles.

           15.     The Exclusive Distribution Agreement also expressly provided that

    MediBio would be “entitled to appoint, at its sole discretion, subdistributors, dealers or

    agents for the Products within the Territory.”

           16.     Tae Chang also has an affirmative obligation under the Exclusive

    Distribution Agreement to prevent its Products from entering into the “Territory” through

    a third party. Ex. A at 2.5.

           17.     This exclusive relationship and access to Tae Chang is very valuable to

    MediBio.

             The Non-Circumvention Agreement Between MediBio and Facet

           18.     After MediBio and Tae Chang entered into the Exclusive Distribution

    Agreement, Facet expressed an interest in being appointed as a subdistributor by

    MediBio.




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           19.     Prior to appointing Facet as a subdistributor for Tae Chang products, it

    was essential for MediBio to protect its relationship with Tae Chang so it did not get cut

    out by Facet and its affiliates from any future business with Tae Chang and its affiliates.

           20.     Thus, MediBio and Facet entered into a separately executed agreement to

    protect MediBio’s relationship with Tae Chang, the “Non-Circumvention Agreement”,

    attached hereto as Exhibit B.

           21.     The Non-Circumvention Agreement provides that Facet, without the prior

    written consent of MediBio, shall not “(i) engage or conduct any business in any manner

    whatsoever, (ii) enter into any business relationship with or (iii) seek to pursue a business

    opportunity with Tae Chang….” Id. at 2 (a).

           22.     The Non-Circumvention Agreement is crucial because MediBio would

    only do business with Facet if Facet agreed, upon being introduced to Tae Chang, not to

    then circumvent MediBio and do any business with Tae Chang directly.

           23.     In addition, Facet agreed to cause “any of its respective officers and

    directors who are materially involved in any discussions regarding the subject matter

    hereof to agree, in writing, to be bound by the terms of this Agreement and be deemed a

    member of the Facet Group . . . .”

           24.     Facet’s officers and directors who were materially involved were its

    Chairman, Kevin Seifert, its President and CEO until January 2015, David Conn, its

    President and CEO after January 2015 until very recently, Alan Panzer, and its CFO, Don

    Jackson.




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           25.     Upon information and belief, Facet complied with its obligations and

    caused Seifert, Conn, Panzer and Jackson to agree to be individually bound by the terms

    of the Non-Circumvention Agreement.

             Master Alliance Agreement Between MediBio, Facet & Tae Chang

           26.     Two months after the Non-Circumvention Agreement had been secured,

    on June 21, 2013, MediBio, Facet and Tae Chang entered into a three-way “Master

    Alliance Agreement.” (Attached as Ex. C.)

           27.     Section 2.01(a)(ii) provides that “MediBio shall (A) act as Tae Chang’s

    exclusive distributor and, pursuant to, and in accordance with, Section 2.01(a)(iii), shall

    designate Facet as its designee to market, promote and sell the Products.” Section

    20.1(a)(iii) then provides that “Tae Chang hereby appoints MediBio, and in turn MediBio

    hereby appoints Facet, each of which hereby acknowledges and accepts such

    appointment, as (A) the exclusive distributor for the distribution, promotion and selling of

    the Products listed on Schedule I…”

           28.     Section 2.01(b) states that without the prior consent of the other Parties, no

    Party (and each party shall cause its subsidiary and affiliates not to), “use, license, grant

    any covenant, right or benefit with respect to or otherwise exploit any Exclusive Products

    other than in connection with the Projects…”

           29.     Section 2.01(d), entitled “Business Dealings Between the Parties,” states

    that “without the prior written consent of MediBio, Tae Chang and Facet and their

    respective Subsidiaries and Affiliates shall be prohibited from, directly or indirectly,

    engaging in any business relationship or conducting any business…”, and that “the Non-

    Circumvention Agreements are, and shall remain, in full force and effect pursuant to, and




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    in accordance with their terms. The Non-Circumvention Agreements were material to

    the Parties decision to enter into this Agreement.”

            30.    In addition, the Master Alliance Agreement also provided MediBio with

    the “right to review the books and records of each other Party regarding all transactions

    relating to any Project” pursuant to Section 3.04 (a) of the Master Alliance Agreement.

            31.    MediBio also has the right to prior notice of, and to attend as an observer,

    any meeting “between Representatives of Tae Facet and Representatives of Tae Chang in

    furtherance of the matters described in this Agreement…” (Master Alliance Agreement at

    3.04 (b).)

            32.    Article V of the Master Alliance Agreement provided for the protection of

    intellectual property of each of the parties.

                             Project Agreement No. 1 (Pen Needles)

            33.    Facet, Tae Chang, and MediBio also entered into a “Project Agreement”

    with respect to a specific product, pen needles, which contains an exclusivity provision

    that “Facet hereby agrees to purchase the Products exclusively from MediBio.” (Project

    Agreement at Section 1.03 (b)(ii), attached as Ex. D.)

            34.    Schedule 2 of the Project Agreement set forth the prices that Facet was to

    pay to Tae Chang and to MediBio for the Products.

            35.    Schedule 3 required that Facet purchase from Tae Chang an annual

    minimum amount of the Product as follows:

                   Year            Minimum Annual Purchases

                   2               $4,000,000

                   3.              $5,000,000




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                   4              $6,000,000

                   5              $7,000,000

                   6 and after    $8,000,000

           36.     Schedule 1.06(g) requires Facet to provide MediBio with a summary of

    material terms of each contract it entered with its customers, including prices to be paid

    and quantity orders, provide reports for sales made at the end of each month, a schedule

    of inventory each quarter, and make available to MediBio “any information necessary to

    reconciles the information required … or amounts owed” to MediBio.

                                    The Breaching Conduct

           37.     Despite MediBio bringing Facet into this very profitable business, Facet

    has breached the applicable agreements in numerous ways.

           38.     First, Facet has failed to meet the Minimum Annual Purchase

    requirements of the Project Agreement, has failed and refused to pay MediBio the

    minimum amounts owed pursuant to the Project Agreement, and has refused to provide

    MediBio with the sales information to which it is entitled under Section 1.06(g) of the

    Project Agreement.

           39.     Second, Facet and Tae Chang began to meet with each other to explore a

    new business relationship to the exclusion of MediBio, in violation of Section 3.04 (b) of

    the Master Alliance Agreement. Thereafter, Facet and Tae Chang have both violated the

    non-circumvention clauses in the Non-Circumvention Agreement and in the Master

    Alliance Agreement.

           40.     For example, Facet has purchased at least 8 Lancet Automation Machines,

    with a value of at least $4 million, directly from Tae Chang without providing MediBio




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    with any notice, without obtaining the prior written permission from MediBio, and

    without including MediBio in the business.

           41.     Facet also circumvented MediBio by going directly to Tae Chang to

    obtain credit, effectively cutting MediBio out from participating in a deal that would be

    beneficial for MediBio.

           42.     These Lancet Automation Machines are used to produce lancets efficiently

    that are of high quality, and Facet’s main business is in selling lancets, so these Lancet

    Automation Machines are extremely valuable to Facet. To produce lancets, one needs to

    purchase a supply of cannula, and Tae Chang, with its affiliate Kovac-Med, is one of the

    world’s largest suppliers of cannula.

           43.     Facet is now purchasing large supplies of cannula from Tae Chang and its

    affiliate Kovac-Med, and using the Lancet Automation Machines it purchased from Tae

    Chang to produce lancets, which it then sells at great profit. Thus, Facet and Tae Chang

    are profiting greatly from the cannula and lancet businesses without providing MediBio

    with its share of those businesses.

           44.     When caught, Tae Chang paid MediBio $118,000 which it represented

    was a 3% commission on its sales of cannula to Facet as of July or August 2016. Neither

    Tae Chang nor Facet has been willing to provide audited numbers showing the volume of

    sales, nor justify such a low commission rate. Since July or August 2016, Tae Chang and

    Facet have continued with their cannula business without any accounting for or payments

    to MediBio.




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            45.     Facet and Tae Chang have begun routing the cannula business through an

    affiliate of Tae Chang, defendant Kovac-Med, in an attempt to avoid further liability

    towards MediBio.

            46.     In addition, Tae Chang and Facet developed a third business together

    without MediBio. In this third business, Facet and Tae Chang brought in Johnson &

    Johnson. Originally, Mr. Seifert suggested to Jatin Rajani of MediBio that it would be a

    possibility for the companies to do business with Johnson & Johnson related to Calibra

    syringes. MediBio participated in an initial telephone call with Johnson & Johnson and

    Facet. However, rather than including MediBio, Facet then brought the Johnson &

    Johnson business directly to Tae Chang to the explicit exclusion of MediBio. In fact,

    Facet and Tae Chang went so far as to aggressively exclude Mr. Rajani from meetings

    while Mr. Rajani was in South Korea intending to attend the meetings.

            47.     The business, excluding MediBio, started with Tae Chang designing and

    testing and making prototypes for Calibra syringes.         When successful, Johnson &

    Johnson then paid for the building, design, and installation of full assembly machinery

    for the Calibra syringes at Tae Chang’s facility. Tae Chang is now producing these

    Calibra syringes that it is selling to Facet either directly or through Johnson & Johnson or

    their respective affiliates.

            48.     All conditions precedent to bringing this action, including notice

    conditions, have been met. Specifically, MediBio provided the requisite notice of its

    claims to Tae Chang and Facet in advance of filing this action. Subsequent to the notice,

    the principles of the Parties met and negotiated regarding the issues, but no resolution

    could be reached.




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                                      COUNT I
                    BREACH OF NON-CIRCUMVENTION AGREEMENT
                                (against all Defendants)

              49.    Paragraphs 1 through 48 are hereby incorporated by reference.

              50.    The Non-Circumvention Agreement provides that Facet, Seifert, Conn,

     Panzer and Jackson, without the prior written consent of MediBio, shall not “(i) engage

     or conduct any business in any manner whatsoever, (ii) enter into any business

     relationship with or (iii) seek to pursue a business opportunity with Tae Chang….” Id. at

     2 (a).

              51.    However, in direct contravention of the Non-Circumvention Agreement,

     and without providing the requisite written notice or obtaining the requisite written

     consent of MediBio, Facet, led by Seifert, Conn, Panzer and Jackson, created at least

     three new business relationships with Tae Chang, and began purchasing products directly

     from Tae Chang as described in paragraphs 37 through 47 above.

              52.    Further, Facet and Tae Chang, together with the individual defendants,

     attempted to avoid liability under the Non-Circumvention Agreement by running certain

     business dealings through Tae Chang’s affiliate, Kovac-Med.

              53.    As a result of these breaches, MediBio suffered monetary damages and

     profits when MediBio was circumvented.

              WHEREFORE, Plaintiff demands judgment in its favor for: (a) actual damages,

     (b) interest, (c) court costs; and (d) any and all further relief that is proper and just.




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                                      COUNT II
                    BREACH OF MASTER ALLIANCE AGREEMENT AND
                               PROJECT AGREEMENT
                                (against all Defendants)

              54.    Paragraphs 1 through 48 are hereby incorporated by reference.

              55.    The Master Alliance Agreement includes a clause under Section 2.01,

     “Strategic Alliance; Collaboration”; which states that “without the prior written consent

     of MediBio, Tae Chang and Facet and their respective Subsidiaries and Affiliates shall be

     prohibited from, directly or indirectly, engaging in any business relationship or

     conducting any business…”

              56.    Further, Facet and Tae Chang, together with the individual defendants,

     attempted to avoid liability under the agreements by running certain business dealings

     through Tae Chang’s affiliate, Kovac-Med.

              57.    However, in direct contravention of the Master Alliance Agreement and

     the Project Agreement, and without providing the requisite written notice or obtaining the

     requisite written consent of MediBio, Facet, led by Seifert, Conn, Panzer and Jackson,

     created at least the three new business relationships with Tae Chang, and began

     purchasing products directly from Tae Chang, as described in paragraphs 37 through 47

     above.

              58.    As a result of the Defendants’ breaches, MediBio has suffered damages of

     lost business, lost sales, lost commissions, and lost profits.

              WHEREFORE, Plaintiff demands judgment in its favor for: (a) actual damages,

     (b) interest, (c) court costs; and (d) any and all further relief that is proper and just.




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                                       COUNT III
                     BREACH OF EXCLUSIVE DISTRIBUTION AGREEMENT
                                   (against Tae Chang)

               59.    Paragraphs 1 through 48 are hereby incorporated by reference.

               60.    In 2012, MediBio and Tae Chang entered into an “Exclusive Distribution

     Agreement”.

               61.    In breach of the Exclusive Distribution Agreement, Tae Chang sold

     Products directly to Facet, which is located in MediBio’s exclusive territory of the United

     States.

               62.    As a result of Tae Chang’s breach, MediBio has suffered damages of lost

     sales and profits.

               WHEREFORE, Plaintiff demands judgment in its favor for: (a) actual damages,

     (b) interest, (c) court costs; and (d) any and all further relief that is proper and just.

                                               COUNT IV
                                             INJUNCTION
                                         (against all Defendants)

               63.    Paragraphs 1 through 48 are hereby incorporated by reference.

               64.    The Master Alliance Agreement includes a clause under Section 2.01,

     “Strategic Alliance; Collaboration”, which states that “without the prior written consent

     of MediBio, Tae Chang and Facet and their respective Subsidiaries and Affiliates shall be

     prohibited from, directly or indirectly, engaging in any business relationship or

     conducting any business…”

               65.    Further, the Master Alliance Agreement states, “The Parties hereby

     represent and warrant that the Non-Circumvention Agreements are, and shall remain, in

     full force and effect pursuant to, and in accordance with their terms.                The Non-




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     Circumvention Agreements were material to the Parties decision to enter into this

     Agreement.”

            66.     The Non-Circumvention Agreement provides that Facet, without the prior

     written consent of MediBio, shall not “(i) engage or conduct any business in any manner

     whatsoever, (ii) enter into any business relationship with or (iii) seek to pursue a business

     opportunity with Tae Chang….” Id. at 2 (a).

            67.     However, in direct contravention of both the Non-Circumvention

     Agreement and the Master Alliance Agreement, and without providing the requisite

     written notice or obtaining the requisite written consent of MediBio, Facet, led by Seifert,

     Conn, Panzer and Jackson, created at least three new business relationships with Tae

     Chang, and began purchasing products directly from Tae Chang, as described above.

            68.     Further, Facet and Tae Chang, together with the individual defendants,

     attempted to avoid liability under the agreements by running certain business dealings

     through Tae Chang’s affiliate, Kovac-Med.

            69.     The Master Alliance Agreement recognizes that in the event of a breach

     such as the instant dispute, monetary damages may be inadequate.

            70.     Specifically, Section 10.18 of the Master Alliance Agreement, titled

     Equitable Relief, states:

                    The Parties acknowledge and agree that the remedies at law for
                    violation of this Agreement may cause irreparable injury to the
                    non-breaching Parties, and the non-breaching Parties shall be
                    entitled to preliminary injunctive relief and other injunctive relief
                    against such violation or threatened violation without the necessity
                    of proving actual damages. Such injunctive relief will be in
                    addition to and not in limitation of any and all remedies such non-
                    breaching Parties have in law or in equity for the enforcement of
                    this Agreement.




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             71.    Indeed, as anticipated by the Master Alliance Agreement, Tae Chang and

     Facet’s continual breach of the non-circumvention clauses causes irreparable harm to

     MediBio in the loss of its exclusive arrangements with Tae Chang and Facet. Monetary

     damages alone will not remedy the loss of the exclusivity arrangement to which MediBio

     is entitled.

             72.    This irreparable harm can only be remedied by an injunction enjoining

     Tae Chang from selling Products directly to Facet or through its affiliates, and enjoining

     Facet from buying Products directly from Tae Chang or through tis affiliates, and from

     further meetings and business relationships which exclude MediBio, and from operating

     the Lancet Automation Machines that were built, designed, and implemented without

     MediBio.

             73.    Such an injunction would be in the public interest because exclusivity and

     non-circumvention clauses are contractual provisions which facilitate parties entering

     into distributor relationships without concern over being cut out, and thus there is a

     public policy interest in enforcing such provisions.

             WHEREFORE, Plaintiff demands judgment in its favor for: (a) injunctive relief,

     enjoining the Defendants from further violation of the Master Alliance Agreement, the

     Exclusive Distributor Agreement, the Project Agreement, and the Non-Circumvention

     Agreement, (b) interest, (c) court costs; and (d) any and all further relief that is proper

     and just.

                                       COUNT V
                    ACCOUNTING/INSPECTION OF BOOKS & RECORDS
                             (against Facet and Tae Chang)

             74.    Paragraphs 1 through 48 are hereby incorporated by reference.




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             75.       MediBio has the “right to review the books and records of each other

     Party regarding all transactions relating to any Project” pursuant to Section 3.04 of the

     Master Alliance Agreement.

             76.       On multiple occasions, MediBio exercised this right, specifically

     demanding pen needle sales and information, purchases, Calibra sales and information,

     and cannula sales and information from Facet.

             77.       However, in breach of Section 3.04 (a) of the Master Alliance Agreement

     Facet and Tae Chang refused to provide the requested information.

             78.       For instance, on July 12, 2016, Dr. Parker of MediBio emailed Facet to

     follow up regarding requested data certified by their CFO. In response, Tony Mulone,

     then of Facet, wrote, “I met with them today to pull info. I will push.” Yet, despite Mr.

     Mulone’s acknowledgement that the certified data was owed, Facet never provided the

     certified data.

             79.       On November 25, 2016, in response to a MediBio request, Facet provided

     some information was provided that was insufficient, inadequate, incomplete, and

     uncertified. Since then, many requests for follow-up and updated information have been

     refused.

             WHEREFORE, Plaintiff demands judgment in their favor for an accounting

     pursuant to Section 3.04 (a) court costs, and any other relief that is proper or just.


                                         COUNT VI
                        BREACH OF MASTER ALLIANCE AGREEMENT-
                              EXCLUSION FROM MEETINGS
                                (against Facet and Tae Chang)

             80.       Paragraphs 1 through 48 are hereby incorporated by reference.




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             81.     MediBio has the right to prior notice of, and to attend as an observer, any

     meeting “between Representatives of Tae Facet and Representatives of Tae Chang in

     furtherance of the matters described in this Agreement…” Master Alliance Agreement at

     3.04 (b).

             82.     Tae Chang and Facet have violated this right on many occasions, as part of

     their other breaches of agreements, in order to improperly circumvent and shut out

     MediBio of their business.

             83.     Most egregiously, Facet and Tae Chang aggressively exclude Mr. Rajani,

     a representative of MediBio, from meetings with Johnson & Johnson while Mr. Rajani

     was in South Korea intending to attend the meetings.

             84.     As a result of the Defendants’ breaches and exclusion of MediBio from

     meetings and the conduction of new business, MediBio has suffered damages of lost

     business, lost sales, lost commissions, and lost profits.

             WHEREFORE, Plaintiff demands judgment in its favor for: (a) actual damages,

     (b) interest, (c) court costs; and (d) any and all further relief that is proper and just.

                                     COUNT VII
                       BREACH OF PROJECT AGREEMENT QUOTAS
                                    (against Facet)

             85.     Paragraphs 1 through 48 are hereby incorporated by reference.

             86.     The Project Agreement specified a minimum amount of Products that

     Facet was obligated to purchase through MediBio in Section 1.06 (f) of the Project

     Agreement and Schedule 3 of the Project Agreement.




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             87.     Schedule 3 set out the minimum quantities, which were $4,000,000 in

     aggregate purchases in Year 2, $5,000,000 in Year 3, $6,000,000 in Year 4, $7,000,000

     in Year 5, and $8,000,000 in Year 6 and thereafter.

             88.     Facet breached the minimum purchase requirements in each year of the

     contract.

             89.     As a result, MediBio suffered monetary damages in the amount of lost

     profits due to lost sales.

             WHEREFORE, Plaintiff demands judgment in its favor for: (a) actual damages,

     (b) interest, (c) court costs; and (d) any and all further relief that is proper and just.

                                    COUNT VIII
                     THEFT OF MEDIBIO INTELLECTUAL PROPERTY
                     IN BREACH OF MASTER ALLIANCE AGREEMENT
                                    (against Facet)

             90.     Paragraphs 1 through 48 are hereby incorporated by reference.

             91.     The Master Alliance Agreement defines “Intellectual Property” or “IP” to

     include “Marks” and defines “Marks” to mean all “trademarks, service marks, trade

     names, trade dress, logos…and all other source or business identifier, together with the

     goodwill associated…and all applications, registrations, renewals, and extensions….”

             92.     The Master Alliance Agreement defines “MediBio Background IP” as “all

     Intellectual Property and Technology (a) Controlled by MediBio or any of its Affiliates

     as of the Effective Date or (b) first Controlled by MediBio or any of its affiliates (i) after

     the Effective Date and (ii) not created, developed, conceived, or acquired by, or licensed

     to, MediBio or any of its Affiliates under this Agreement or any Project Agreement or in

     the course of performing or otherwise resulting from, any activities under this Agreement

     or any Project Agreement.”



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             93.     The Master Alliance Agreement defines “MediBio IP Improvement” to

     mean “any Improvement to any MediBio Background IP (a) created developed or

     conceived by or for MediBio or any of its Affiliates on or after the Effective Date…(b)

     created, developed or conceived by or for Facet or Tae Chang or any of their Affiliates or

     (c) created, developed or conceived jointly by or for MediBio or any of its Affiliates, on

     the one hand, and Facet or Tae Chang or any of their Affiliates, on the other hand.”

             94.     Prior to the Effective Date, MediBio had invested substantially in

     developing trademarks, trade names, trade dress, and logos for three new brands,

     Carefine, Quinta Point and Maxflow, for the sale of Pen Needles.

             95.     The investment consisted of both money spent and time invested by

     MediBio’s officers and employees.

             96.     Pursuant to the Master Alliance Agreement, the aforementioned

     intellectual property is “MediBio Background IP”, “MediBio IP Improvement” and

     “MediBio Licensed IP” that Facet had a license to use for the purposes of the alliance.

     (Id. at Section 5.01.)

             97.     The Master Alliance Agreement makes clear that MediBio retains its “all

     right, title and interest in and to all MediBio Background IP and MediBio IP

     Improvements, subject to the licenses granted…to the other Parties…”. (Id. at 5.01 (b).)

             98.     Rather that appropriately using MediBio’s trademarks, trade names, trade

     dress, and logos for Carefine, Quinta Point and Maxflow as a licensee, however, Facet –

     in breach of the Master Alliance Agreement – registered the MediBio’s trademarks, trade

     names, trade dress, and logos for Carefine, Quinta Point and Maxflow as its own




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     intellectual property both with the United States Patent and Trademark Office and

     internationally.

             99.     As part of the United States Patent and Trademark Office registration

     application, Facet falsely claimed that it had developed the intellectual property, even

     though MediBio was in fact the one that did so.

             100.    The Master Alliance Agreement recognizes that in the event of a breach

     such as the instant dispute, monetary damages are inadequate and an injunction is

     appropriate.

             101.    Specifically, Section 10.18 of the Master Alliance Agreement, titled

     Equitable Relief, states:

                     The Parties acknowledge and agree that the … non-breaching
                     Parties shall be entitled to preliminary injunctive relief and other
                     injunctive relief against such violation or threatened violation
                     without the necessity of proving actual damages. Such injunctive
                     relief will be in addition to and not in limitation of any and all
                     remedies such non-breaching Parties have in law or in equity for
                     the enforcement of this Agreement.


             WHEREFORE, Plaintiff demands judgment in its favor ordering that Facet: (a) be

     enjoined from claiming ownership over the trademarks, trade names, trade dress, and

     logos for Carefine, Quinta Point and Maxflow, (b) assign ownership of the trademarks

     and tradenames for Carefine, Quinta Point and Maxflow to MediBio, (c) pay MediBio’s

     attorneys fees and costs; and (d) granting all further relief that is proper and just.




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                               DEMAND FOR TRIAL BY JURY

           Plaintiffs demand trial by jury of all issues.

     Dated May 26, 2017

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